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                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES

Date: May 16, 2024           Time: 3 hours 30 minutes       Judge: YVONNE GONZALEZ ROGERS
Case No.: 20-cv-05640-YGR    Case Name: Epic Games v. Apple Inc.



  Attorney for Plaintiff: Gary Bornstein, Yonatan Even, Lauren Moskowitz, Michael Zaken,
                          Michael Brent Byars, and Benjamin Wylly
  Attorney for Defendant: Mark Perry, Rich Doren, and Cynthia Richman
  Apple Corporate Representative: Phil Schiller
  Apple Head of Litigation: Heather Grenier
  Counsel for Apple: Mark Pinkert

  Deputy Clerk: Edwin Angelo A. Cuenco                     Court Reporter: Raynee Mercado


                                            PROCEEDINGS

     Evidentiary Hearing – HELD. See attached witness and exhibit list.

     Witness Mr. Carson Oliver is Ordered to provide the Court with: (i) the January 11, 2024 draft of
     the slide deck presented to the U.S. App Store Price Committee; (ii) any notes he made
     concerning the assumptions underlying the link entitlement program analysis contained in the
     deck presented to the U.S. App Store Price Committee; and (iii) any case studies relied upon in
     the preparation of the slide deck.

     The parties are ordered to meet and confer regarding timing for submitting proposed findings of
     fact following the close of evidence. Such proposed findings of fact must include cross-
     references to the evidentiary hearing transcript.

     This case is continued to May 17, 2024, at 1:00 p.m. for Evidentiary Hearing.
